Case 8:22-cr-00091-PX Document 178 Filed 04/22/24 Page 1of5

Sheet 1 - Judgment in a Criminal Case with Probation (Rev. 12/2019) Judgment Page | of 5
BEU

United States District Court — aw
District of Maryland

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
(For Offenses Committed on or After November |, 1987)

Vv.
Case Number: PX-8-22-CR-00091-005

RHONDA PAUL
Defendant’s Attorney: Nicholas George Madiou
Assistant U.S. Attorney: Adam Kenneth Ake

THE DEFENDANT:
pleaded guilty to count | of the Superseding Information
C1 pleaded nolo contendere to count(s) , which was accepted by the court.

C1 was found guilty on count(s) after a plea of not guilty.
Date Count
Title & Section Nature of Offense Offense Concluded Number(s)
18 U.S.C. 1035(a) False Statement Relating To A 01/03/2018 Is

Health Care Matter

The defendant is adjudged guilty of the offenses listed above and sentenced as provided in pages 2 through 5
of this judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984 as modified by U.S.
v. Booker, 543 U.S. 220 (2005).

(1 The defendant has been found not guilty on count(s)
Counts 1 through 9 of the Indictment are dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid.

_April 22, 2024
Date of Imposition of Judgment

4. 2*-2 Loa

Paula Xinis Date
United States District Judge

Name of Court Reporter: Paula Leeper
Case 8:22-cr-00091-PX Document 178 Filed 04/22/24 Page 2 of 5

Sheet 2 - Judgment in a Criminal Case with Probation (Rev. 12/2019) Judgment Page 2 of 5

DEFENDANT: Rhonda Paul CASE NUMBER: PX-8-22-CR-0009 1-005

PROBATION

The defendant is hereby placed on probation for a term of 2 years as to Count 1 of the Superseding

Information.

A. MANDATORY CONDITIONS

1) You must not commit another federal, state or local crime.

2) You must not unlawfully possess a controlled substance.

3) You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

(] The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance
abuse. (check if applicable)

4) You must cooperate in the collection of DNA as directed by the probation officer.

5) (1 You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

6) [J You must participate in an approved program for domestic violence. (check if applicable)

7) (J You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if
applicable)

8) You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.

9) If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.

10) You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,

fines, or special assessments.

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.

B. STANDARD CONDITIONS OF SUPERVISION

As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1)

2)

6)

7)

8)

9)

You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
time frame.

After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.

You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.

You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
Case 8:22-cr-00091-PX Document 178 Filed 04/22/24 Page 3of5

Sheet 2.01 - Judgment in a Criminal Case with Probation (Rev. 12/2019) Judgment Page 3 of 5.

DEFENDANT: Rhonda Paul CASE NUMBER: PX-8-22-CR-0009 1-005

1) You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.c., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).

2) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

3) If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

4) You must follow the instructions of the probation officer related to the conditions of supervision.

C. PROBATION

ADDITIONAL CONDITIONS
SPECIAL ASSESSMENT
You must pay the $100.00 special assessment as directed.
COMMUNITY SERVICE — HOURS
You must complete 50 hours of community service within 24 months at a place of your choosing or a place that
the probation officer helps you to find. The probation officer will supervise the participation in the program by
approving the program (agency, location, frequency of participation, etc.). You must provide written verification
of completed hours to the probation officer.

U.S. Probation Office Use Only

AUS. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature _ Date
Case 8:22-cr-00091-PX Document 178 Filed 04/22/24 Page 4 of 5

Sheet 3, Part A - Judgment in a Criminal Case with Probation (Rev. 12/2019)
DEFENDANT: Rhonda Paul

Judgment Page 4 of 5

~ CASE NUMBER: PX-8-22-CR-0009 1-005

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 5B.

Assessment Restitution Fine | | AVAA Assessment* | JVTA Assessment**
TOTALS $100.00 N/A Waived N/A N/A

LC] CVB Processing Fee $30.00 BC

C] The determination of restitution is deferred until —__ . An Amended Judgment in a Criminal Case (AO 245C)
will be entered after such determination.

(] The defendant must make restitution (including community restitution) to the following payces in the amount listed below.
If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified

otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
victims must be paid before the United States is paid.

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
$.00
TOTALS $ $ $0.00

(] Restitution amount ordered pursuant to plea agreement

(| The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6
may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

LJ] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
(] the interest requirement is waived forthe [J fine (1 _ restitution

LJ the interest requirement forthe [J] fine [1 restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.

** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22

*** Findings for the total amount of losses are required under Chapters 109A, 110, L10A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
Case 8:22-cr-00091-PX Document 178 Filed 04/22/24 Page 5of5

Sheet 3, Part B - Judgment in a Criminal Case with Probation (Rev. 12/2019) Judgment Page 5 of 5

DEFENDANT: Rhonda Paul CASE NUMBER: PX-8-22-CR-00091-005

SCHEDULE OF PAYMENTS

Payment of the total fine and other criminal monetary penalties shall be due as follows:

A & $100.00 Special Assessment in full immediately;

B [J $ immediately, balance due (in accordance with C, D, or E); or

C [J Notlaterthan 3 or

D (J Installments tocommence ____ day(s) after the date of this judgment.

E OO In___ (eg. equal weekly, monthly, quarterly) installments of $s over aperiodof___ year(s) to commence when

the defendant is placed on supervised release.
The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.
Unless the court expressly orders otherwise, if this judgment imposes a period of imprisonment, payment of criminal monetary penalties
shall be due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Bureau of

Prisons Inmate Financial Responsibility Program, are to be made to the Clerk of the Court.

CL] NO RESTITUTION OR OTHER FINANCIAL PENALTY SHALL BE COLLECTED THROUGH THE INMATE
FINANCIAL RESPONSIBILITY PROGRAM.

If the entire amount of criminal monetary penalties is not paid prior to the commencement of supervision, the balance shall be paid:

(] in equal monthly installments during the term of supervision; or

{]} onanominal payment schedule of $ per month during the term of supervision.
The U.S. probation officer may recommend a modification of the payment schedule depending on the defendant’s financial
circumstances.
Special instructions regarding the payment of criminal monetary penalties:
LJ Joint and Several
Case Number
Defendant and Co-Defendant

Names (including defendant Joint and Several Corresponding Payee,
number) Total Amount Amount if appropriate

(] The defendant shall pay the cost of prosecution.

L} The defendant shall pay the following court cost(s):

L] The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA

assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including
cost of prosecution and court costs.
